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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

COMPASS MARKETING, INC.,                 §
Plaintiff,                               §
v.                                       §
FLYWHEEL DIGITAL LLC, et al.,            §
Defendants.                              §        Case Number: 1:22-cv-00379-GLR
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                    DECLARATION OF RACHEL A. WARD, ESQUIRE

       I, Rachel A. Ward, Esq., pursuant to the provisions of 28 U.S.C. § 1746, declare as

follows:

       1.       I am an attorney with the law firm of Morgan, Lewis & Bockius, attorneys for

Plaintiff Compass Marketing, Inc. and have been admitted pro hac vice to represent the Plaintiff

in connection with this matter.

       2.       I have personal knowledge of the facts contained herein, and if called upon as a

witness, I could and would competently testify thereto. I am over 18 years of age, of sound mind,

and otherwise competent to make this Declaration.

       3.       I submit this Declaration in support of Plaintiff’s Opposition in Response to

Defendants Flywheel Digital, LLC, Ascential PLC, James Columbus “Chip” DiPaula, Jr., and

Patrick Miller’s Motion to Dismiss.

       4.       Attached hereto as Exhibit A is a true and correct copy of pages one and one

hundred thirty-five (135) from the 2021 Ascential Annual Report.

       5.       Attached hereto as Exhibit B is a true and correct copy of a Bay Net News Article

entitled Weeks After Being Named in A Federal Lawsuit, DiPaula Resigns from UMMS Board.
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       6.     Attached hereto as Exhibit C is a true and correct copy of a Sky News Article

entitled Cannes Lions Owner Ascential Plots £1.5bn Transatlantic Break-Up.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on May

4, 2022, in Philadelphia, Pennsylvania.



                                            _/s/ Rachel. A. Ward, Esq._______________
                                            Rachel A. Ward, Esq.




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